Case 2:OO-cr-20242-.]DB Document 37 Filed 05/26/05 Page 1 of 2 Page|D 43

 

 

 

PROB. 12
(Rev.3l88)
UNITEI) sTATEs DISTRICT COURT m .
.ED §i"®` rv___ _.:j_(:‘
fOl` D"' ,¢: \./ ,-
`J iij.;‘r 20 P]'=‘l S: 06
WESTERN DISTRICT OF TENNESSEE ,]GC__`!:,$_ t __
`r.`::.\`si-?.i:`_` :i`:. “".L ‘iii@g.|@
MEMPHIS DIvIsIoN ’F’- '3!" ass
U.S.A. vs. TRICE FLEMING pocket No. 2:00CR20242-01

 

 

Petition on Probation and Supervised Release

COMES NOW NICOLE D. PETERSON PROBATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Trice Fleming who Was placed on supervision by the Honorable alpha
Smith Gibbons sitting in the Court at Memphis, TN on the g(_)m day of` June, 2001 Who fixed the period of`
supervision at three 131 years, and imposed the general terms and conditions theretofore adopted by the Court and
also imposed special conditions and terms as follows:
l. The defendant shall participate in mental health counseling as deemed necessary by the Probation OHice.
2. The defendant shall make restitution in the amount of $194,582.00 (Rerhaining balance: $194,122.66).

3. Any employment by defendant shall be approved by the Prohation Office.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT F()R CAUSE AS FOLLOWS:

After reviewing Trice Fleming’s monthly income and necessary expenses, it appears that ten percent (10%) of her
monthly gross income is an appropriate payment plan.

PRAYING THAT THE COURT WILL ORDER that Trice Fleming’s restitution payments be set at ten percent
(10%) of her monthly gross income

 

 
 
   

ORDER OF COURT Respectfully,
§
Consid d and ordered this ;f~ day `,7(/»1.///1%;57`
of , 20§5_'_ and ordered filed and Nicole D. Peterson
made rds in the above case. U.S. Probation Off_icer

 

( Place Memphis, Tennessee
ni d States District Judge
Date Mav ]6, 2005

 

This document entered on the docket shea in cobl/nptianoo
/\
mm we ss ami/m wm irsch on _Q '§'U d

    

UNITED S`T"TE D"ISIC COURT - WESERNT D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 37 in
case 2:00-CR-20242 Was distributed by f`aX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

